
USCA1 Opinion

	




       No. 96-2357
                                   WILLIAM MAGEE,
                                Plaintiff, Appellant,
                                         v.
                              UNITED STATES OF AMERICA,
                                Defendant, Appellee.
                                ____________________
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                    [Hon. Nancy J. Gertner, U.S. District Judge]
                                ____________________
                                       Before
                           Stahl and Lynch, Circuit Judges,
                         and O'Toole*, U.S. District Judge.
                                ____________________
            Francis J. Caruso, III
                                  with whom 
                                            Paul J. Gillespie
                                                              and 
                                                                  Gillespie &amp;
       Associates were on brief for appellant.
            Julie 
                  S. 
                     Schrager, Assistant United States Attorney, with whom
       Donald K. Stern, United States Attorney, was on brief for appellee.
                                ____________________
                                    July 31, 1997
                                ____________________
       *Of the District of Massachusetts, sitting by designation.

                      STAHL, Circuit Judge.  Plaintiff-appellant William
            Magee appeals the grant of summary judgment in favor of
            defendant-appellee, the United States, with respect to his
            personal injury action under the Federal Tort Claims Act, 28
            U.S.C. S 1346(b) ("FTCA"). 
                                     Background
                      This case arose out of an automobile accident in
            which Peter Puzzanghera, an outpatient at the Veterans
            Administration Medical Center in Bedford, Massachusetts
            ("VAMC") rear ended Magee. As a result of the accident, Magee
            suffered physical injuries and property damage for which he
            seeks damages from the federal government. By way of
            background, we describe the relationship between the Veterans
            Administration ("VA") and Puzzanghera in order to explain how
            Magee came to sue the United States.
                      Puzzanghera has long battled chronic, paranoid
            schizophrenia. In August, 1988 he was involuntarily committed
            to Metropolitan State Hospital. In July, 1989, he was
            transferred to VAMC where he remained as an inpatient until
            late June, 1990. On June 20, 1990, he was discharged to the
            Fort Hill Community Care Home and continued to receive
            treatment at VAMC on an outpatient basis.
                      Puzzanghera's treatment at VAMC included periodic
            intermuscular injections of Prolixin Decanoate ("Prolixin").
            VAMC physicians prescribed Prolixin to help Puzzanghera manage
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            his schizophrenia. Following the onset of this treatment,
            Puzzanghera experienced restlessness and difficulty in moving
            his tongue, side effects that his doctors have attributed to
            the Prolixin.
                      VAMC has established a policy entitled Veterans
            Driver Evaluation Program for the purpose of aiding veterans in
            obtaining driver's licenses from the Massachusetts Registry of
            Motor Vehicles ("RMV"). Pursuant to this policy, VA doctors
            refer "selected patients whose rehabilitative prospects might
            be enhanced by having a driver's permit or license" to a VA
            psychologist for evaluation as to suitability. Depending on
            the outcome of this evaluation, the psychologist either
            determines that the patient is not a suitable candidate for a
            license, or submits a letter of support to the RMV on behalf of
            the patient. The letter details the patient's medical
            treatment and indicates that beyond the information in the
            letter, the VA knows of no "contraindication" to the RMV's
            consideration of the patient for restoration or continuance of
            driving privileges. The VA acknowledges in the letter,
            however, that the final decision regarding a given patient's
            driving privileges rests with the RMV.
                      At some time prior to April 1990, Puzzanghera
            requested his treating physician, Dr. Albert Gaw, to assist him
            in obtaining a driver's license. Dr. Gaw referred Puzzanghera
            to Dr. Robert Avey, a counselling psychologist at VAMC. After
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            Dr. Avey evaluated Puzzanghera, he sent a letter to the RMV on
            his behalf. Puzzanghera subsequently received driving
            privileges.
                      In the afternoon of October 29, 1990, while Magee sat
            in his car at a red light, Puzzanghera rear ended Magee's car,
            causing bodily injury to Magee and damage to his vehicle. A
            police officer who arrived shortly after the accident noted
            that Puzzanghera appeared "very slow and deliberate in his
            actions." The officer performed two field sobriety tests which
            Puzzanghera "passed with no problem." Puzzanghera informed the
            officer that he was an outpatient at VAMC and had recently
            received a shot of Prolixin. In fact, Puzzanghera had received
            this shot approximately four hours prior to the accident.
                      Magee filed a complaint against the United States
            under the FTCA in which he alleged that the VA negligently
            allowed or enabled Puzzanghera to qualify for and obtain a
            driver's license while on Prolixin, negligently failed to warn
            Puzzanghera of the side effects of Prolixin, negligently failed
            to properly monitor and supervise Puzzanghera's Prolixin
            treatment, and negligently "fail[ed] in other respects that
            will be shown at trial." According to Magee, the VA's
            negligence caused his injuries. The district court granted
            summary judgment in favor of the United States on all of
            Magee's allegations. This appeal followed.
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                                 Standard of Review
                      We review the award of summary judgment 
                                                            de novo
                                                                   .  See
            Ortiz-Pinero v. Rivera-Arroyo, 84 F.3d 7, 11 (1st Cir. 1996).
            Summary judgment is appropriate in the absence of a genuine
            issue of material fact, when the moving party is entitled to
            judgment as a matter of law.   See Fed. R. Civ. P. 56(c). A
            fact is material when it has the potential to affect the
            outcome of the suit.  See J. Geils Band Employee Benefit Plan
            v. Smith 
                     Barney 
                             Shearson, 
                                       Inc., 76 F.3d 1245, 1250-51 (1st
            Cir.), cert. denied, 117 S. Ct. 81 (1996). Neither party may
            rely on conclusory allegations or unsubstantiated denials, but
            must identify specific facts derived from the pleadings,
            depositions, answers to interrogatories, admissions and
            affidavits to demonstrate either the existence or absence of an
            issue of fact. See Fed. R. Civ. P. 56(c) &amp; (e). The district
            court's analysis does not bind us.    See Mesnick v.  General
            Elec. Co.
                    , 950 F.2d 816, 822 (1st Cir. 1991). Instead, we may
            affirm or reverse on any independently sufficient ground. See
            id.
                                     Discussion
                      The FTCA vests federal district courts with
            jurisdiction over claims against the United States for damages
            caused by 
                      the negligent or wrongful act or omission
                      of any employee of the Government while
                      acting within the scope of his office or
                      employment, under circumstances where the
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                      United States, if a private person, would
                      be liable to the claimant in accordance
                      with the law of the place where the act or
                      omission occurred. 
            28 U.S.C. S 1346(b). Fourteen statutory exceptions limit this
            otherwise broad waiver of sovereign immunity. See 28 U.S.C. S
            2680. To evaluate a claim brought pursuant to the FTCA,
            therefore, we must first determine whether an exception
            precludes the claim, and, if not, whether a private actor in
            the state where the conduct occurred would be liable to the
            plaintiff under the circumstances. We conclude that the
            discretionary function exception to the FTCA bars Magee's claim
            with respect to the VA's actions regarding Puzzanghera's
            driver's license.  We also conclude that Massachusetts
            statutory law precludes his claims of negligent treatment. 
             A.  The Letter
                      As indicated, several exceptions limit the breadth of
            the government's potential liability under the FTCA. One, the
            discretionary function exception, operates to deprive a
            district court of jurisdiction over 
                                
            1.  The district court analyzed Magee's complaint in negligence
            terms, holding that Mass. Gen. Laws ch. 123, S 36B precluded
            some of Magee's claims and that he failed to establish the
            elements of common law negligence on his remaining claims. In
            arriving at our conclusion we depart from the reasoning of the
            district court in determining that the discretionary function
            exception to the FTCA bars Magee's claims arising out of the
            VA's efforts on behalf of Puzzanghera's driver's license. We
            reiterate, however, that in evaluating an appeal from the grant
            of summary judgment, we may affirm for any independently
            sufficient ground supported by the record.  See Mesnick, 950
            F.2d at 22. 
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                      [a]ny claim . . . based upon the exercise
                      or performance or the failure to exercise
                      or perform a discretionary function or
                      duty on the part of a federal agency or an
                      employee of the Government, whether or not
                      the discretion involved be abused. 
            28 U.S.C. S 2680(a); 
                                see 
                                    Kelly v. 
                                             United States
                                                          , 924 F.2d 355,
            360 (1st Cir. 1991) ("When a claim is covered by the
            discretionary function exception, it must be dismissed for lack
            of subject matter jurisdiction."). 
                      Though not abundantly clear from the statutory
            language, ample authority guides our determination of whether
            the discretionary function exception serves to bar a claim
            against the government.  See, e.g., United States v. Gaubert,
            499 U.S. 315, 322-25 (1991); United 
                                                States v. Berkovitz, 486
            U.S. 531, 536-39 (1988); Attallah v. United 
                                                        States, 955 F.2d
            776, 782-83 (1st Cir. 1991); 
                                        Irving v. 
                                                  United States
                                                               , 909 F.2d
            598, 600-03 (1st Cir. 1990). First, we must determine whether
            the conduct in question was discretionary in nature.      See
            Gaubert, 499 U.S. at 322; Attallah, 955 F.2d at 783. If the
            conduct was discretionary in nature, we must then consider
            whether it "[was] of the kind that the discretionary function
            exception was designed to shield." 
                                              Gaubert, 499 U.S. at 322-23
            (internal quotation and citation omitted); see Attallah, 955
            F.2d at 783.
                      The discretionary nature of governmental conduct
            depends on whether that conduct involved an element of judgment
            or choice.  See  Gaubert, 499 U.S. at 322. We evaluate the
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            nature of the conduct rather than the status of the actor to
            determine "'whether the action is a matter of choice for the
            acting employee.'"    Attallah, 955 F.2d at 783 (quoting
            Berkovitz, 486 U.S. at 536). An action, for example, does not
            involve an element of choice "if a federal statute, regulation
            or policy specifically prescribes a course of action for an
            employer to follow, because [t]he employer has no rightful
            option but to adhere to the directive."  Gaubert, 499 U.S. at
            322 (internal quotation and citation omitted).
                      The language of VAMC's Veterans Driver Evaluation
            Program contemplates a series of steps VA staff must undertake
            upon deciding to assist a veteran in obtaining a driver's
            license. The program, however, cannot be characterized as
            requiring a particularized course of conduct for the VAMC
            staff.  See, e.g., Kelly, 924 F.2d at 360-61 (interweaving of
            "imperatives with weaker, precatory verbs and generalities" may
            be more characteristic of discretion than of mandatory
            directives). Within those steps, the program leaves broad
            discretion to VA psychologists in their evaluation of the
            patient and their ultimate decision whether to write to the RMV
            on the patient's behalf. The program also grants broad
            discretion to treating physicians in deciding whether to refer
            interested patients to a psychologist for evaluation.
                      The uncontroverted deposition of Dr. Robert Avey, the
            VA counselling psychologist who wrote on behalf of Puzzanghera,
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            underscores the discretionary nature of the process. Dr. Avey
            testified that his evaluation protocol included reviews of
            patient treatment histories, interviews with patients and
            consultations with other professionals such as physicians or
            social workers if necessary, all aimed at gauging the propriety
            of facilitating the restoration of a given patient's driving
            privileges. Thus, we are satisfied that VAMC's program is
            sufficiently discretionary to meet the first inquiry of the
            discretionary function exception. See 
                                                 Gaubert, 499 U.S. at 322
            (indicating that conduct involving element of choice or
            judgment is discretionary). 
                      Having determined that the action was discretionary,
            we turn to the second inquiry, whether the decision of VA
            doctors to assist Puzzanghera in applying for his driver's
            license was "of the kind that the discretionary function
            exception was designed to shield."   Id. at 322-23 (internal
            quotation and citation omitted). The exception does not serve
            to protect all discretionary actions of governmental employees.
            Instead, it "protects only governmental actions and decisions
            based on considerations of public policy."       Id. at 323
            (internal citation omitted). In this way, the exception serves
            its purpose of preventing "judicial second guessing" of
            legislative and administrative decisions grounded in social,
            economic, and political policy through the medium of an action
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            in tort.  See Attallah, 955 F.2d at 783; Irving, 909 F.2d at
            600.
                      As the Supreme Court has indicated, "it will most
            often be true that the general aims and policies of the
            controlling [program] will be evident from its text." 
                                                                 Gaubert,
            499 U.S. at 324. A government statute or program that allows
            the government actor discretion creates a presumption that the
            isolated discretionary act reflects the same considerations
            which led to promulgation of the program.      See id. The
            exception is not reserved solely for planning level decisions
            establishing programs.  See id. at 323. The exception also
            protects "the actions of Government agents involving the
            necessary element of choice and grounded in the social,
            economic or political goals. . . ."    Id. In short, "the
            discretionary function exception insulates the Government from
            liability if the action challenged . . . involves the
            permissible exercise of policy judgment." Berkovitz, 486 U.S.
            at 537. 
                      We view VAMC's decision to assist Puzzanghera in
            obtaining a driver's license as a clear, permissible exercise
            of policy judgment. As we have already stated, the policy
            contemplates significant discretion on the part of the VA staff
            at every step of the process. The Veterans Driver Evaluation
            Program includes a clearly stated policy objective, "to assist
            veterans to apply for driving privileges" in cases where
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            driving privileges are likely to enhance the patient's
            rehabilitative prospects. This objective folds neatly into the
            VA's mission of providing a range of care and assistance for
            veterans. A series of judgments leading up to the ultimate
            decision under this program, whether to write to the RMV, all
            involve considerations of veteran rehabilitation.
                      Magee unpersuasively argues that VAMC's assistance to
            Puzzanghera in obtaining a driver's license constituted part of
            his medical treatment. In  Collazo v. United States, 850 F.2d
            1, 3 (1st Cir. 1988), we held that a claim of negligent medical
            treatment by a government actor, unaccompanied by any
            discretionary, policy based conduct, falls outside the
            parameters of the discretionary function exception. We
            distinguished conduct made on purely medical grounds from
            conduct made pursuant to governmental policy, pointing out that
            where "only professional, nongovernmental discretion is at
            issue, the discretionary function exception does not apply."
            Id. at 3 (internal quotation omitted).
                      The decision to write a letter to the RMV on
            Puzzanghera's behalf fell within the parameters of VAMC's
            rehabilitative policy. Puzzanghera, not VAMC physicians,
            initiated the process by asking for a driver's license
            referral. Pursuant to the program, Dr. Avey, a counseling
            psychologist and not Puzzanghera's treating psychiatrist, made
            the ultimate decision to write a letter to the RMV on behalf of
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            Puzzanghera. The program creates a general process applicable
            to all patients seeking a license; it did not constitute part
            of Puzzanghera's individualized medical treatment. Puzzanghera
            did not receive his license, for example, to help control his
            schizophrenia. Rather, the decision to write a letter of
            support was made in contemplation of his rehabilitative needs.
                      We conclude that VAMC's efforts on Puzzanghera's
            behalf with respect to the Veterans Driver Evaluation Program
            fall within the discretionary function exception to the FTCA.
            Accordingly, that exception bars the portion of Magee's claim
            that rests on the VA's efforts on behalf of Puzzanghera's
            driver's license. 
            B.  The Prolixin
                      Magee also claims that the VA's negligent medical
            treatment of Puzzanghera caused his injuries. Specifically,
            Magee claims that the VA failed to properly monitor and
            supervise Puzzanghera's Prolixin treatment and failed to warn
            him adequately of the adverse side effects he might experience
            as a result of the Prolixin doses. Magee attributes the
                                
            2.  We point out that "where the government is performing a
            discretionary function, the fact that the discretion is
            exercised in a negligent manner does not make the discretionary
            function exception to the FTCA inapplicable."  Attallah, 955
            F.2d at 784 n. 13 (citing 
                                     Berkovitz, 486 U.S. at 539). Whether
            VAMC negligently exercised its discretion with respect to
            Puzzanghera's driver's license, therefore, is irrelevant to our
            analysis. 
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            accident to that alleged negligent failure to warn Puzzanghera
            and properly supervise his treatment.
                      This claim derives from Puzzanghera's specific
            medical treatment, which as we have indicated, falls outside
            the protection of the discretionary function exception.   See
            Collazo, 850 F.2d at 3. We do not identify, nor does the
            government point us to, any other statutory exception that
            might bar this claim. In the absence of a statutory exception,
            the FTCA imposes liability on the government for conduct of its
            employees within the scope of their employment "under
            circumstances where the United States, if a private person,
            would be liable to the claimant in accordance with the law of
            the place" where the conduct occurred. 28 U.S.C. S 1346(b).
            "To identify the applicable rule of substantive law,"
            therefore, "the FTCA directs us to determine the substantive
            law that would apply to 'a private individual under like
            circumstances' in the jurisdiction where the injury occurred."
            In re All Maine Asbestos Litig.
                                          , 772 F.2d 1023, 1027 (1st Cir.
            1985) (quoting  United  
                                   States v.  Muniz, 374 U.S. 150, 153
            (1963)); see Kelly, 924 F.2d at 359. We turn to the law of
            Massachusetts, the situs state, to determine whether Magee can
            hold the government liable in this case.
                      We agree with the district court that Magee failed to
            provide evidence in the record from which a jury could have
            found that the VA's treatment of Puzzanghera caused the
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            accident.  See 
                           Borden v. 
                                    Betty Gibson Assoc., Inc.
                                                             , 574 N.E.2d
            1020, 1022 (Mass. App. Ct. 1991) (indicating that causation is
            necessary to recovery for negligence). Magee points to the
            Prolixin shot Puzzanghera received four hours prior to the
            accident, the various side effects Puzzanghera experienced as
            a result of the Prolixin, namely restlessness and difficulty
            controlling his tongue, the police officer's notation that
            Puzzanghera appeared slow and deliberate at the scene of the
            accident, Magee's own impression of Puzzanghera at the scene,
            and Puzzanghera's inability to remember the details of the
            accident. 
                      Magee does not, however, explain how any of these
            pieces of evidence, either in isolation or in the aggregate,
            would allow a jury to conclude that the VA's alleged negligent
            treatment of Puzzanghera caused the accident. Nothing in the
            record suggests, for example, that the restlessness or tongue
            control side effects somehow caused Puzzanghera to drive into
            Magee. Nor does the record offer a basis to conclude that the
            police officer's characterization of Puzzanghera related to his
                                
            3.  We note that Mass. Gen. Laws ch. 123, S36B would appear to
            bear on the question of whether VAMC had any duty to Magee.
            Given that the Massachusetts Supreme Judicial Court has not yet
            construed S 36B and our own conclusion that the record fails to
            support at least one essential element of negligence, we need
            not determine the applicability of S 36B to this case. 
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            treatment at VAMC. In short, Magee lacks any evidence that
            would allow a jury to base a conclusion as to causation on
            anything other than speculation.  See id. (indicating that a
            recovery in negligence cannot be based on speculation as to
            causation). 
                                     Conclusion
                      For the foregoing reasons, we affirm the district
            court's disposition of Magee's complaint.
                      Affirmed.  Costs to Appellee.
                                
            4.  Magee's expert, Dr. Catherine Larned, points to
            Puzzanghera's medical records and notes that on one occasion
            (June 12, 1990) Puzzanghera appeared "somewhat lethargic" at an
            appointment, and that on another occasion (June 19, 1990)
            Puzzanghera reported that a nap on his lunch break caused him
            to return late to work. The record, however, in no way
            supports even an inference that Puzzanghera was either
            experiencing these indications at the time of the accident, or
            that they were caused in any way by Puzzanghera's treatment at
            VAMC.
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